                         Case 19-32825 Document 1 Filed in TXSB on 05/20/19 Page 1 of 4
     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

      SOUTHERN
     ____________________                 TEXAS
                          District of _________________
                                          (State)
                                                                11
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                       
                                       X     Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      HL BUILDERS, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________
                                        CD Homes, LLC
                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification           X
                                        Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        2402 Elmen Street
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                       Houston
                                       ______________________________        TX 77019
                                                                            _______ _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                        Harris
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


Official Form 205                                         Involuntary Petition Against a Non-Individual                                    page 1
                       Case 19-32825 Document 1 Filed in TXSB on 05/20/19 Page 2 of 4

Debtor          HL BUILDERS, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        _____________________________________________________________________________________________________




7.    Type of debtor                
                                    X    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                    Railroad (as defined in 11 U.S.C. § 101(44))
                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                    Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    None of the types of business listed.
                                   X
                                    Unknown type of business.

9.    To the best of your               No
      knowledge, are any
                                    X Yes. Debtor _________________________________________________
                                                   Houtex Builders, LLC                                          Affiliate
                                                                                                    Relationship __________________________
      bankruptcy cases
      pending by or against
                                                           Southern District of Texas Date filed _______________
                                              District __________________________                 08 / 23 / 2018                         18-34658
                                                                                                                 Case number, if known____________________
      any partner or affiliate
                                                                                                 MM / DD / YYYY
      of this debtor?

                                                          415 Shadywood, LLC                                                     Affiliate
                                              Debtor _________________________________________________            Relationship __________________________
                                                            Southern District of Texas         08 / 23 / 2018                          18-34659
                                              District __________________________ Date filed _______________  Case number, if known____________________
                                                                                             MM / DD / YYYY
                                                          2203 Looscan Lane, LLC                                                 Affiliate
                                              Debtor _________________________________________________            Relationship __________________________

                                                            Southern District of Texas Date filed _______________
                                              District __________________________                   08 / 23 / 2018                           18-34660
                                                                                                                   Case number, if known____________________
Part 3:        Report About the Case                                                              MM / DD / YYYY

10.   Venue                         Check one:

                                    
                                    X Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    
                                    X The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              No
                                   X
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


Official Form 205                                     Involuntary Petition Against a Non-Individual                                        page 2
Case 19-32825 Document 1 Filed in TXSB on 05/20/19 Page 3 of 4




                                         05 /20 / 2019
Case 19-32825 Document 1 Filed in TXSB on 05/20/19 Page 4 of 4




                                          05 / 20 / 2019




                                   /s/ Charles M. Rubio


                                          05 / 20 / 2019
